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               Exhibit A
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                                         IBW'lfiiNIT
       I, Mark Wilson, state:

                        INTRODUCTION AND AGENT BACKGROUND

        1.     I make this affidavit in support of an application for a criminal complaint

charging James Baugh ("BAUGH") and David Harville ("HARVILLE") with violations of

federal criminal law, namely, eonspiracy to commit cyberstalking, contrary to 18 U.S.C. §

2261A, and conspiracy to tamper with a witness, contrary to 18 U.S.C. § 1512(b)(3), each in

violation of 18 U.S.C. § 371 (together, "the Target Offenses"), and for warrants to arrest

BAUGH and HARVILLE.

       2.      I have been a Special Agent with the Federal Bureau of Investigation ("FBI")

since approximately January 2019. Before becoming a Special Agent, I worked for five years as

a Staff Operations Specialist in the FBI's Cleveland Division, providing analytic support for

criminal and national security cyber investigations. I was also a member ofthe FBI's Child

Abduction Rapid Deployment Team, which investigates child abductions nationwide by

providing cyber analysis. I was also assigned to the Cleveland Police Department's Homicide

Unit Task Force, vvhere I implemented intemet and technical analysis to investigate homicide

cases. Beyond my work experience, I have also received tvventy-one vveeks' formal training in

investigative techniques at the FBI Academy in Quantico, Virginia.

       3.      I am currently assigned to the FBI Boston Division's Cyber Crimes Squad. I am

responsible for investigations involving computer system intrusions, internet fraud, and

cyberstalking. Based on my training and experienee, I am familiar with the means by which

individuals use computers and information networks to commit these and other crimes. I am a
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law enforcement officer ofthe United States within the meaning of 18 U.S.C. § 2510(7), and I

am accordingly empowered by law to conduct investigations and to make aiTests for federal

felony offenses.

        4.      Based on my training and experience and the facts set forth in this affidavit, there

is probable cause to believe that BAUGH, HARVILLE, Stephanie Popp, Brian Gilbert,

Stephanie Stockwell, Veronica Zea, and other persons known and unknown ("the Target

Subjects") bsys CQEninitte(ltheTargetOfisnses.

        5.     The facts in this affidavit come from my observations and review ofrecords, my

training and experience, information obtained from other law enforcement personnel, and

information obtained through legal process, court orders, intei-views, and search warrants. This

affidavit is intended to show merely that there is sufficient probable cause for the requested

complaint and does not set forth all of my knowledge about this matter. Statements attributed to

individuals, unless otherwise indicated, are in substance and in part.

                                         THESTATUTES

       6.      Title 18, United States Code, Section 2261A, the federal cyberstalking statute,

provides in pertinent part:

        Whoever—...

       (2) with the intent to kill, injure, harass, intimidate, or place under surveillance with
       intent to kill, injure, harass, or intimidate another person, uses the mail, any interaetive
       computer service or electronic communication service or electronic eommunication
       system of interstate commerce, or any other facility of interstate or foreign commeree to
       engage in a course ofconduct that-

               (A) places that person in reasonable fear ofthe death ofor serious bodily injury to
                   [that] person, [an immediate family member ofthat person; or a spouse or
                   intimate partner ofthat person]; or
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                   (B) causes, attempts to cause, or would be reasonably expected to cause
                       suBstantiaTemotionaHilstresstoTtEatpeKonTa^
                       that person; or a spouse or intimate partner ofthat person]

commits a felony punishable by five years in prison and a $250,000 fine. 18 U.S.C.

§2261(b)(5).

        7.         Title 18, United States Code, Section 1512(b)(3), partofthe federal witness

tampering statute, provides in pertinent part:

        (b)        Whoever biowingly uses intimidation, threatens, or corruptly persuades another
                   person, or attempts to do so, or engages in misleading conduct toward another
                   person, with intent to-

                   (3)    hinder, delay, or prevent the communication to a law enforcement officer
                          orjudge ofthe United States ofinformation relating to the commission or
                          possible commission ofa Federal offense ...

commits a felony punishable by twenty years in prison and a $250,000 fine.

        8.         Under Title 18, United States Code, Section 371, iftwo or more persons conspire

to commit any offense against the United States, including the two above, and one or more of

such persons do any act to effect the object ofthe conspiracy, each commits a felony punishable

by five years in prison and a $250,000 fine.

                                          PROBABLECAUSE

        At all times relevant to this affidavit:

        9.         Victim 1 lived in Natick, Massachusetts. Victim 1 was a reporter and editor ofan

online newsletter ("the Newsletter") that covered ecommerce companies, including eBay, Inc.

Victim 1 used a Tvvitter account in the Newsletter's name to promote her reporting.

        10.        Victim 2 lived in Natick and was married to Victim 1. He was the publisher of

the Nevvsletter.


                                                   3
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        11.    The investigation described below has revealed that in or about August 2019,

BAUGH, HARVILLE, and the rest ofthe Target Subjects—allofwhom were then officers,

employees or contractors ofeBay—engagedin an extensive harassment campaign that targeted

and terrified Victims 1 and 2, causing them substantial emotional distress. The campaign

included: sending anonymous, threatening communications to the Victims; ordering unwanted

and disturbing deliveries to their home, including funeral wreaths and books on surviving the

lossofaspQuse;andBAUGH,HARyiLLE,Zea,andPopptrayellingtQNaticktQsutveilthe

Victims at their home and in their community.

        12.    After the Victims spotted one of the surveillance teams, the Natick Police

Department ("NPD") investigated, connected HARVILLE and Zea to eBay, and reached out to

eBay for assistance.

        13.    When BAUGH, HARVILLE, Gilbert, Popp, Stockwell, Zea, and others leamed

that the NPD was making inquiries, they interfered with the investigation, either lying to the

NPD about eBay's involvement while pretending to offer the company's assistance with the

harassment, lying to eBay's lawyers about their own involvement, or both. As the NPD and

eBay's lawyers began to close in on the truth, the Target Subjects deleted evidence that showed

their involvement, further obstructing what had by then become a federal investigation.

       eBay

       14.     According to Fortiine magazine's most recent online listing, eBay's
"multinational e-commerce
                            platforms allow[] consumer-to-consumer and business-to-consumer

transactions." Founded in 1995 and headquartered in San Jose, California, eBay ranked 295 in

the 2019 Fortune 500 with more than $10 billion in revenue andjust over 13,000 employees
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worldwide.

        15.     In August 2019, according to written records obtained from eBay and witnesses

interviewed in connection with the investigation:

                a.     Executive l and Executive 2 were members ofeBay's executive

leadership team.

                b.     BAUGH was eBay's Senior Director of Safety & Security. He ran eBay's

Global Security and Resiliency ("GSR") business, a company division responsible for, in general

terms, the physical security ofeBay's employees and facilities worldwide.

                c.     HARVILLE, who reported directly to BAUGH, was eBay's Director of

Global Resiliency, a unit focused on ensuring that eBay could eontinue to operate worldwide

after business disruptions, such as security threats, political unrest, or natural disasters. BAUGH

recruited HARVILLE to eBay from a security consulting firm where the two had worked

together.

                d.     Popp, a Target Subject who is separately eharged in the District of

Massachusetts with committing both ofthe Target Offenses, was eBay's Senior Manager of

Global Intelligence. She served as BAUGH's de facto chiefofstaff. Before May 2019, Popp

managed eBay's Global Intelligence Center ("GIC"), an intelligence and analytics group within

the GSR business that supported eBay's security operations.

                e.     Stockwell, a Target Subject who is separately charged in the District of

Massachusetts with committing both ofthe Target Offenses, was an intelligence analyst in the

GIC who later became its manager when eBay reassigned Popp to work directly with BAUGH.

                f.     Zea, a Target Subject who is separately charged in the District of
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Massachusetts with committing both ofthe Target Ot'fenses, was an eBay contractor who worked

as an intelligence analyst in the GIC.

                 g.      Gilbert, a Target Subject ivho is separately charged in the District of

Massachusetts with committing both ofthe Target Offenses, was a Senior Manager ofSpeciat

Operations for eBay's Global Security Team. A former police captain in Santa Clara, Califomia,

Gilbert was responsible for, among other things, executive proteetion, special events security,

andsafetyateBay'sNQrthAmericanQffices.

                 h.      Supervisor 1 was a GSR employee responsible for, among other things,

safety and security at eBay's offices outside ofNorth America.

                 i.      Analyst 1, Analyst 2, and Analyst 3 worked in the GIC.

       The Newsletter

        16.      Based on my review ofthe Newsletter's intemet website, www.[Newsletter].com,

the Newsletter devotes its coverage to online marketplaces, including eBay, Amazon, and

Craigslist, among others. Victim 1 has foeused much ofher reporting on issues ofinterest to
"sellers"                                                                             "What is
            (i.e., people who sell merchandise online). Examples ofarticles include

Behind Amazon Prime Shipping Delays? and "Craigslist FINALLY Launches a Mobile App:

Worth the Wait''"

        17.      Based on my review oftext messages and emails provided by eBay and otherwise

obtained during the course ofthe investigation, eBay executives, including Executives 1 and 2,

followed the Newsletter with interest, often taking issue with the content of Victim 1 's coverage

ofeBay.

        18.      On April 10, 201 9, for example, Executive 2 texted Executive 1, "We are going to
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crush this lady, sending along a link to the Newsletter's coverage that day ofExecutive 1's

compensation.

        19.     On April 20, 2019, discussing the Wall Street Journal's coverage of Executive 1,

Executive 1 texted to Executive 2, "Fuck them. Thejoumal is next on the list after [Victim 1]."

       20.      On May 31, 2019, eommentingon theNevvsletter's coverage ofeBaythatday,

Executive 2 texted to Executive 1, "Shockingly reasonable..." Executive 1 replied, "I couldn't

care less what she says." Seconds later, Executive 1 added, "Take her down."

       21.      In or about June 2019, eBay (at Executive 2's direction) retained a consultancy

that prepared a document entitled "Next Steps: Altemative Digital Methods for Reducing Impact

of[Victim 1] and [Victim 2] and [Newsletter]." The document included the recommendation,

among others, that eBay promote company-friendly content that would drive the Newsletter's

posts lower in seareh engine results.



       The Parocly Account

       22.      Like many news outlets, the Newsletter offered its readers the opportunity to

comment underneath Victim 1 's stories. The anonymous comments were sometimes critical of

eBay and its executive leadership team. At other times, the comments amounted to name-

calling. For example, a May 2015 comment ealled eBay exeeutives "liars" and "thugs" vvho

should bejailed; a May 2017 comment called Exeeutive 1 the devil; and an April 2018 comment

stated that Executive 1 was "delusional."




        Documents do not indieate that the strategies were executed.

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          23.    One commenter in particular, who went by the online nicknames "FidoMaster,
"FidoMasterl," "Dan Davis," or "UnsuckeBay"                       "the Parody Account
                                                 (collectively,                         )-

expressed frequent and negative opinions regarding eBay.     [n addition to commenting below the

Newsletter's articles, the anonymous author(s) ofthe Parody Account sometimes posted opinions

critical ofeBay in Twitter feeds, impersonated official eBay communications using a distorted

version ofthe company's logo, or sent messages that one eBay seller considered to be harassing.

          24.    On May21, 2019, forexample, theNewsletterreportedthateBayhadbuiltonits

campus an expensive replica ofWalker's—a                           "(t's
                                       popular Manhattan bar—noting, probably

news to sellers (and shareholders?) that eBay has a pub-like lounge on campus - especially one

built vvith what appears to be no-expenses spared." FidoMasterl tvveeted a link to the article,

noting "@[Newsletter] posted about @eBay's beleagured [Executive 1s] self-indulgent vanity
          'Walker's West' campus bar." The tweet continued, "The bar,
project                                                                  [Executive 1's] recreation

of iconic @WalkersBarNYC is a throwback to intemet and gaming company CEO's lavish

overspending on 'legacy' facilities and landmarks." FidoMasterl also eriticized Executive 1 for

undertaking the project while eBay was experiencing "cost reduction, layoffs, and scrutiny by

activist investors."

          25.    In March 2019, in response to a request from Exeeutive 2, the GIC prepared a

report for BAUGH summarizing the Parody Account's discussions ofeBay over the last year.

The report noted that FidoMasterl/Dan Davis was an "anonymous [T]witter user that posts

negative content about eBay and its senior leadership." Regarding Fidomasterl/Dan Davis'



          It appears that these account handles/nicknames were commonly controlled, but it is
possible that  more than one individual used them.
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relationship with the Newsletter, the report noted "the owner ofthis account corresponds

regularly vvith [the Newsletter] editor [Victim 1] about issues pertaining to eBay. [Victim 1] and

[the Newsletter] are knovvn for publishing negative content about eBay and its exeeutives."

       May lo July 2019—the Lead Up to the Harassment Campaign

       26.     In either April or May 2019, according to CW-1, CW-2, and CW-33, BAUGH

summoned Popp, Stockwell, Analyst 1, and Zea to an eBay conference room. BAUGH stated

that the GIC would be writing an anonymous, threatening letter to Victim 1 to get her to stop

publishing artieles critical ofeBay. The letter, which was to be handwritten and sent from

Austin, Texas so that it could not be connected to eBay, was never sent.

       27.     On or about June 8, 2019, Gilbert scribbled the word "Fidomaster" on the fence in

front ofthe Victims' home.

       28.     In or about July 2019, aceording to CW-3, BAUGH directed Stockwell and later




                                                                                               las
any criminal history that would bear on credibility, and each has provided facts generally
corroborated by the other records, documents, and interviews conducted in the investigation to
date and reflected elsewhere in this affidavit. I accordingly believe each individual's information
to be reliable.

         Gilbert had flown to Boston using tickets that CW-2 purchased for him with CW-2's
credit card. Gilbert rented a black Ford Explorer similar to one that appears in surveillance video
from the Victims' home security system that day. In the video, the driver of the Explorer
approaches the Victims' fence before returning to the SUV.
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Zea to monitor Victim 1 's Newsletter posts, screenshot them, and forward them by WhatsApp

on a real-time basis, day or night, any day ofthe week.

       29.     In July and early August 2019, as described below, members ofeBay's executive

leadership team and others increased pressure on BAUGH to address both the Newsletter and the

Parody Account.

       30.     On July 10,2019, Executive 1 received and shared with BAUGH and others an

email complaintfrom an eBay setlerthatthe ParodyAeeount@unsuckeBaywasharassingthe

seller on Twitter and answering customers' questions that had been posted to an official eBay

Twitter account. The seller asked for Executive 1's help in addressing the problem.

       31.     On or about July 18,2019, Executive 1' s spouse texted BAUGH privately about a

comment undemeath a Newsletter article that called Executive 1 a "con artist and thief."

The spouse vvrote: "I'm not exactly thrilled with this post on my favorite [Newsletter]. The

author gets people worked up with the way she skews her stories. Don't tell [Executive 1] I sent

this I'mjust letting you know about it. Ok?"

       32.     In mid-July 2019, according to CW-1, BAUGH tasked the GIC with identifyin^

the author ofthe Parody Account. BAUGH stated that identifying Fidomaster was a top priority

coming from eBay's executive leadership, including Executive 1 and Executive 2. [n an email to

BAUGH and Zea, Stockwell laid out several theories, including that the author ofthe Parody

Aecount might have "made contact with or know" Victim 1 .

       33.     BAUGH directed the GIC to find evidence that the Victims and the Parody



       WhatsApp is an encrypted messaging and internet telephony application owned by
Facebook.

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Account were collaborating to publish negative content about eBay, including by using a fake

social media account to attempt to trick Fidomaster into admitting a connection with Victim 1.

The GIC never found such evidence. According to CW-1, however, BAUGH remained

convinced that Victim 2, or possibly Victim 1, vvas Fidomaster.

       34.     On August 1,2019, theNew York Times published an article reportingthat eBay

had accused Amazon in a lawsuit ofunlawfully poaching eBay sellers to Amazon's online

marketplace.

       35.     That day, at approximately 1:46 p.m., Victim 1 posted an article on the Newsletter

under the headline "eBay RICO Lawsuit Meant to Curb Seller Exodus to Amazon?" Victim 1 's

article reported on both Executive 1 and eBay's lawsuit: "[Executive 1] has been unable to stop

a decline in market sales, but trying to dissuade sellers from turning to Amazon (and trying to get

Amazon to stop recruiting sellers) may not be the best tactic."

       36.     Just halfan hour later, at 2:19 p.m., Executive 1 texted Executive 2: "[Victim 1]

is out vvith a hot piece on the litigation. Ifyou are ever going to take her do\vn..now is the time."

       37.     Executive 2 responded shortly afterward by text message: "On it."

       38.     As set forth below, a series oftext messages followed between Executive 2 and

BAUGH, beginning with Executive 1 's suggestion to Executive 2 that "we ... take her down":




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                                                                                  [EXECUTIVE 2's
                                                                                  INi'HALS A^ FERST N.AMEj


                                               ~>''ith ?:i hst
                                     j!ii O'R                  pk-cy e^"
                                   t! li3s:9:ii;flrt.

                                   if 'f'i'e ane svsr gsmg to iaks b&r
                                   dQwn..'~;ow is ths t^ris.




                                   HBtred b 3 S!P. i am vs^' sinFui.




                                   Amsn,-

                                   I WiifiS her PON!

       [EXECLTEVE ]'s
          INITIALS^


                                   $hQ is biassd tfftll 'Ahe n&e^s
                                   to get §URNEDDO'^H




       39.        Executive 2 and BAUGH's August 1, 2019 conversation continued by text, with

Executive 2 committing to "embrace managing any bad fall out."




                                   f'fi ennbrace managing anybad
                                   fatl out. We need to STOP hsr.


       Aligtist 2019 - Planning and Execiiting the Harassment Campaign

       40.        Aceording to CW-1, CW-2, and CW-3, BAUGH convened several meetings that

included one or more ofthe following: HARVILLE, Gilbert, Popp, Stockwell, Zea, Supervisor

1, and Analysts 1, 2, and 3, among others.

       Harassing ancl Threatening Deliveries

       41.        In the first ofthese meetings, BAUGH directed Popp, Stockwell, Zea,and

                                                                12
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Analysts 1, 2, and 3 to anonymously harass Victims 1 and 2, with the goal of distracting Victim

1 and making her uncomfortable to the point where Victim 1 would stop writing negative articles

about eBay. BAUGH called the harassment a "distraction campaign" and suggested that scary

masks, live insects, or embarrassing items, such as pornography and strippers, be sent to the

Victims (and in some cases to their neighbors in the Victims' names).

       42.     According to CW-2, BAUGH showed a clip from the 1988 movie Jolmny Be

Good, m which two friends an'anged for the delivery, to their football coach's home, ofa series

ofunwanted and distracting items and people, including $283 in pizzas, an elephant, a male

stripper, an exterminator, and Hare Krishna missionaries. BAUGH stated he wanted somethin;

similar to happen to the Victims and tasked the GlC's members with brainstorming other things

that could be delivered to the Victims' home.

       43.     BAUGH also directed that the deliveries not be traceable to eBay. At his

direction, Zea and other G1C analysts paid for the deliveries using prepaid debit cards, and made

online orders using anonymous email accounts, virtual private networks, and cell phones and

computers specifically purchased for the harassment campaign.

       44.     In these meetings, BAUGH referred to having executive support for these actions

and shared with one or more members of the group text messages that BAUGH claimed to have

received from executive management, including ones similar to the ones between BAUGH and

Executive 2 described above.




         I am aware based on my training and experience as a cybercrime investigator that virtual
private networks are leased Intemet Protocol ("IP") addresses that would obfuscate the source of
the harassment.

                                                13
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       45.     BAUGH nevertheless stressed that the harassment campaign must remain

confidential. In one ofthese meetings, BAUGH displayed a photograph ofwhat he said were

members ofa Samoan gang. BAUGH said, in substance, that ifthe distraction campaign didn't

work, he would send the gang to the Victims' home, that they were not "good guys," and that

whatever happened would be out of BAUGH s control.

       Threutenmg Messages

       46.     AecordingtQ CW-2, ina separMe mefitJngduiingtbeweekQfAu

gathered Popp, Gilbert, and Supervisor 1 to plan another way to harass the Victims.
       47.     Specifically, Baugh, Popp, Gilbert, and Supervisor 1 planned to send a series of

anonymous tweets and Twitter direct messages. According to CW-2, the purpose ofthe

anonymous messages was to create the impression that there were eBay sellers who disapproved

ofthe Newsletter and its content. BAUGH, Gilbert, Popp, and Supervisor 1 discussed that the

messages would gradually get more aggressive, culminating in the publication ofthe Victims

home address in Natick. Popp selected @Tui_Elei for the Twitter account's handle ("the

Tui_Elei Account") and used a picture ofa skull that BAUGH approved for the account profile

to further intimidate the Victims.

       48.     By design, according to CW-2 and others interviewed in connection with the

investigation, these threatening messages would allow eBay—throughGilbert and another GSR

employee—toapproach the Victims in Natick with an offer of assistance to investigate and stop

the threatening messages, thereby eaming the Victims' trust, creating good will toward eBay,



         Tvvitter posts, or "tweets," are generally pubticly displayed. Twitter "direct messages"
are sent from one Tivitter account to another and are generatly not pubtic.

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and getting the Victims cooperation in identifying the author ofthe Parody Account. (This will

be referred to in this affidavit as "the White Knight Strategy").

         49.      BAUGH told Popp, Gilbert, and Supervisor 1 that eBay's leadership supported

these efforts. He later forwarded them the email beloiv from Executive 2 in which Executive 2

complained about "Fidomaster" and "the [Newsletter] gal," and suggested that eBay should do
"Whatever. It. Takes" to address them:

 1 am utteriy vexed by this' This twitter account dominates our soclal narrative with his CONSTANT obsession
 with tro!ling us. it's more than annoying. st's very damaging. There are a few people (this guy and the
                 |gal) infatuated with eBay who have seemingly dedlcated their [ives to erroneous!y trashing us
 as a way to build their own brand - or even buiid a business. It's genuine!y unfair and causes tremendous
 damage because we !ook bad fighting back In pubiic and standing up for ourseives. if we could engage, I'd
 weicome the fight and we have a !ot of facts and truth to wln wlth. But, instead we take shots broadside and sit
 on our powder. This issue glves me ulcers, harms empioyee mora!, and tricKIes Into everythlng about our
 brand.! genuineiy belleve these people are acting out of maiice and ANYTHING we can do to soive it should
 be expiored. Somewhere, at some point, someone chose to iet this slide. It has grown to a point that is
 absoiutely unacceptabie. It's the "blind eye toward graffiti that turns Into mayhem" syndrome and I'm sick about
 it. Whatever. !t. Takes.

         50.      At or around the end ofthat week, BAUGH showed the Leonardo DiCaprio

movie, Body ofLies, to Zea. In the movie, DiCaprio's character creates a fake terrorist plot that

is intended to trick and draw an actual terrorist out ofhiding. BAUGH stated that this was his

current thinking regarding the Victims, which I believe vvas a reference to the White Knight

Strategy (i.e., tricking the Victims into helping eBay by creating and then eliminating the

harassment campaign).

         Siin'eillance Campaign

         51.      In a third set of planning meetings in early August 2019, BAUGH recruited

HARV1LLE and Zea to travel to Boston to physically surveil Vietims 1 and 2 at their home and

in their community. The purported purpose ofthe trip, according to CW-2 and CW-3, was to
                                                          15
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find evidenee that the Victims and the author ofthe Parody Account were collabomting to

publish negative content about eBay, presumably for the purpose of discrediting both.
        52.    On August 11, 2019, at approximately 3:15 p.m. (PT), BAUGH messaged

HARVILLE: "you and 1 need to fly to east coast for op. I'll book travel arrangements offthe
                            "copy."
grid." HARVILLE replied,

        53.    BAUGH instructed HARVILLE not to tell an eBay coworker that "you are going

anywheK,'^HARyiLLEmessaged:'MQoneknp\ysshit,''andBAUGHrep|ie^

lie to [HARVILLE's wife] too."

        54.    BAUGH then messaged that he would be sending a screenshot to HARVILLE:
"Once
        you read it delete this entire thread and DONT SAVE TO YOUR PHONE or we will all

?et fired."

        55.    The following messages came next, including a copy of an earlier message that

BAUGH had exchanged with Executive 2 about "neutralizing [Victim 1's] website" and

Executive 2's response that he wanted to "see ashes":




                                               16
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                                The'e are 2 tar^ets. One known 3nd
                                one unknown- NEVER search for
                                them on yoL.ir personal, work phone
                                ar conipute!'




                                  ev wili find vou first




                                                                           —-———
                                                                             tVlCTIM 1's HRST NA\[E]




                                 1 want to see ashes
                                 A$ iORg as it tskes. Whatever it
                                 tgkes




       56.     From BAUGH's use ofa message featuring Victim 1's name, I believe BAUGH

was referring to Victim 1 as one ofthe "2 targets."

       57.     BAUGH next sent screenshots ofseveral July 2019 emails regarding the

executive leadership team's concerns about UnsuckeBay (i.e., the Parody Aecount).

HARVILLE replied, "Holy crap!"

       58.    BAUGH then forwarded to HARVILLE a sereenshot of Executive 2's August 6,

2019 email to BAUGH and others (described above in paragraph 49), complaining about both

the Parody Account's author and Victim 1 ("the [Newsletter] gal") and stating "I genuinely

believe these people are acting out ofmaliee and ANYTHING we can do to solve it should be

explored."

       59.    After sharing these screenshots, BAUGH messaged HARVILLE at 3:32 p.m.:
                                               17
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              won'
             've b<



       60.      HARVILLE's reply message at 3:33 p.m.:


                                  Copy, Totally black        , ,. •; ^
                               rm'c)eIe{ing'tHJsnow.'''''''".:'.~'T

       61.      Interviews with CW-1, CW-2, and CW-3 and records obtained from Apple show

that BAUGH, HARVILLE, and others obtained and tested a GPS device to install on the

Victims' car in aid ofthe surveillance campaign. BAUGH practiced installing the device on a

car in eBay's parking lot that matched the make and model that the Victims drove.

       62.      On or about August 14, 2019, according to CW-2 and CW-3, BAUGH held a

meeting that included HARVILLE, Popp, Gilbert, and Zea. During the meeting, BAUGH

displayed a map ofNatick on the wall and discussed surveillance planning. Gilbert advised the

;roup that the harassing deliveries, which were still undervvay to the Victims' home, would put

the Victims on alert, could result in the Victims paying closer attention to who was approachinj

their home, and potentially compromise the surveillance team. BAUGH directed Zea to try to

stop the package deliveries.

       63.      According to CW-3, on August 14, 2019, BAUGH directed Zea to go to a Target

store to purchase permanent markers that could be used to write on the Victims' fence. Zea

purehased these markers at approximately 8:10 p.m. that day (as reflected in a Target receipt

obtained by the FBI from eBay).
                                                  18
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       .M;....—J^^SHiji^£X!]^yiL2li^s^!l2is^jl];£iLs^22L!s!i£j2SS
According to CW-2 and CW-3, these included HARVILLE and Zea's registration for a software

development conference in Boston that happened to be occurring that week.

       65.     On or about August 15,2019, BAUGH also directed Stockvvell and Zea to create

a document that featured Victims 1 and 2 as eBay "Persons of Interest" (or "POIs"). While I am

aware from CW-1, CW-2, and CW-3 that the GIC did track as POIs customers and sellers who

threatened violence, this document falsely suggested that Victims 1 and 2 were the authors ofthe

Parody Account, and that Victims 1 and 2 had disparaged and threatened eBay executives,

including Executive 1. Ifpolice detected their surveillance and pulled them over, according to

CW-2 and CW-3, BAUGH and HARV1LLE could use the documents tojustify, falsely, why

they and Zea were in Boston—to
                             investigate two people who had supposedly threatened eBay

and its executive personnel.

       The Target Sitbjects' Harassment Campaign

       66.     Beginning on August 7, 2019, as described below, the Victims began to

experience what BAUGH had directed: a stream ofharassing, embarrassing, and disturbins

deliveries. Victim 1 similarly began to receive a torrent oftweets and direct messages directed

by BAUGH, drafted by Popp, and approved by Gilbert and Supervisor 1, in furtherance ofthe

White Knight Strategy.

       67.     That day, Victim 1 received a Twitter private message from an account with a



          Records obtained from eBay and Red Hat, the sponsor ofthe conference, indicate that
HARVILLE and Zea attempted to register for the DevConf conference on or about August 14,
2019, but also that none ofthe three ever attended the conference or claimed a spot offthe
ivaiting list when it was offered to them.

                                               19
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username and display name that she did not recognize, the Tui_Elei Account. The private

message asked her what her problem was vvitb eBay.

        68.     When Victim 1 did not respond, the private messages from the Tui_Elei Account

escalated, asking "HELLO!!!!!!"; "WTF ...ru there??"; "im waiting... i don't like waiting";
"WTF whats it                                             "I
                goin to take for u to answer me??"; and        guess im goin to have to get ur

attention another way bitch.. ."

        69,     When'Victim 1 continuednotto respond.more prwate messages fQllowed that

included explicit language: "U dont have the balls to talk to me?? Stop hiding behind ur

computer screen u fuckin cunt!!!"

        70.     On or about August 8, 2019, at approximately 11:00 p.m. (ET), Victim 1'semail

inbox was flooded over the course of an hour with dozens of emails and newsletters that she had

not signed up for (for example, emails with the subjects "the Communist Party"; "the Satanic

Temple"; and "Cat Faeries").

        71.     On or about August 10, 2019, Victims 1 and 2 began to receive a series ofhome

deliveries that they had not ordered. The content ofmessages that followed from the Tui_Elei

Account caused Victims 1 and 2 to believe the person controlling the Tui_Elei Aceount had sent

(or at least knew of) these deliveries.

        72.     For example, on August 10, 2019, Victim 2 received an email reporting that a
"Preserved Fetal Pig" had been ordered online to be sent to the Vietims' house.

        73.     At approximately 4:00 p.m. that day, an Amazon.com package addressed to

Victim 1 was delivered to the Victims' home. The package contained a Halloween mask

featuring a bloody pig faee:


                                               20
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       74.     At 4:14 p.m., Victim 1 received a message from the Tui_Elei Account asking
"DO I HAVE UR ATTENTION NOW????"

       75.     On August 11, 2019, Victim 1 received a series ofprivate messages from the

Tui_Elei Aceount. The first message stated: "Ur fat fuck pussy husband [Victim 2] needs to put

u in line cunt." The nextmessage stated: "afterhe takes the plugsoutofhis asshole...fuckin
               "U are sick motha fuckers..and every one will kno! U fuckin cunt ass bitch!!"
pussies!!! and

       76.     On August 12,2019, Victim 2 received from Amazon the death-themed book
                          "GriefDiaries: Surviving the Loss ofa Spouse":
pictured below entitled




                                                21
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       77.     The Tui_Elei Account continued messaging Victim 1 that day, asking her what

her problem was with eBay.

       78.     On August 13, 2019, Victim 2 reeeived a voicemail message in response to his

purported interest in opening an Adam & Eve sex toys franehise. (Victims 1 and 2 reported to

the NPD that Victim 2 had not expressed such interest).

       79.     The Tui Elei Account continued to tweet at Victim l on August 13, 2019, writing
••RUTHERE???'\"ywQntuanswrme???'\and,''m^^

pay 4 food cloths and rent by selling on ebay.. . UR stupid idiot comments r pushin buyers away
fromebayandhurtinfamilys!! STOPITNOW!! #ebay #ebayseller."

       80.     On August 14, 2019, Victims 1 and 2 received a package from Carolina

Biological Supply in Burlington, North Carolina that, according to the company, contained fly

larvae and live spiders.

       81.     On August 14, 2019, Victims l and 2 also received a box of cockroaches sent

from Dubia Roaches ofWichita, Kansas.

       82.     That day, the Tui_Elei Account tweeted "[Victim 1] wen u hurt our bizness u hurt

our familys... Ppl will do ANYTH1NG 2 protect family!!!!"

       83.     [n response to these deliveries and messages, Victims 1 and 2 added a security

camera to their house, and the NPD—to
                                    whom the Victims had reported many ofthese

incidents—committedto conduct extra checks near the Victims' house in the future.

       84.     On August 15, 2019, pornography entitled "Hustler: Barely Legal" arrived at the

homes oftwo ofthe Victims' neighbors; the packages had Victim 2s name on them. The

contents ofone ofthe packages is pictured below:


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       85.     On August 15, 2019, a Cambridge, Massachusetts florist delivered a "sympathy"

wreath to the Victims' home, another death-themed delivery. When an NPD officer ealled the

florist, the florist stated that the person who had ordered the wreath tried unsuccessfully to cancel

the order before completing the transaction. (This information is consistent with BAUGH's

instruction to Zea on August 14 that Zea should cancel outstanding deliveries in anticipation of

the surveillance campaign).

       Surveillance Begins and the Harassment Contimies

       86.     On August 15, 2019, BAUGH and Zea flew to Boston. HARVILLE also flew to

Boston, separately, the same day.

       87.     Once in Boston, Zea rented a black Dodge Caravan, and HARVILLE rented a

blue Subaru Forester, both from Enterprise Rent-a-Car. BAUGH, HARVILLE, and Zea checked

into Boston's Ritz Carlton hotel.

       88.     At approximately 8:30 p.m., according to records obtained from Apple, Stockwell




       First-hand observations ofevents taking place in Boston were reponed to me by
CW-2, CW-3, or both.

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sent a WhatsApp message to HARVILLE providing the make, model, and license plates ofthe

Victims' family cars, including their Toyota Rav4.

        89.    OnAugust 15, 2019, at ll:30p.m., the day BAUGH, HARVILLE, andZeahad

arrived in Boston, the three drove the Dodge Caravan to Natick, where BAUGH and

HARVILLE approached the Victims' home on foot with the intention of installing the GPS

device on the Victims' car. Zea and Popp, whojoined the surveillance by conference call from

SanJQse.monitRredtheNEQdispatcboverthejntemetto

(Records obtained from Apple show that one of HARVILLE s iPhones was used that morning to

visit the vvebsite "Natick Police and Fire Live Audio Feed at m.broadcastify.com). Although

BAUGH and HARVILLE approached the Victims' home, they did not install the GPS that night

because the Toyota Rav4 was locked in the Victims' garage.

        90.    Upon retuming to the hotel, BAUGH, RARVILLE, and Zea ordered room

service. HARVILLE discussed breaking into the Victims' garage (using tape and either a paint

scraper or putty knife) in order to install the GPS tracker.

       91.     The next day, Friday, August 16, 2019, at 3:48 p.m., according to records

obtained from a Boston-area hardware store and Apple, HARVILLE purchased: (1)a slotted

screwdriver; (2) a 6-in-l painters' tool; (3) a two-ended catspaw/pry bar; and (4) nitrile (rubber)

gloves. I believe based on my training and experience that these were the tools that HARVILLE

intended to use to break into the Victims' garage.

       92.     On the aftemoon of Friday, August 16, 2019, HARVILLE, BAUGH, and Zea

retumed to Natick to continue the sui'veillance. HARVILLE drove separately in the Subaru




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Forester.10

       93.     On that same afternoon, one or both ofthe Victims drove by the Dodge Caravan.

BAUGH started to follow the Victims. Monitoring the NPD dispatch, Zea heard the dispatcher

call in the fact that the Victims were being followed. Zea and HARV1LLE went back to the Ritz

Carlton in the Subaru while BAUGH returned the Dodge Caravan to Enterprise.

       94.     As Zea heard, Victims 1 and 2 reported to the NPD that a dark-colored minivan

with New York plates had circled their neighborhood and followed Victim 2. But the license

plate the Victims reported was off by one letter, so the NPD was not able to identify the

surveillance team's Dodge Caravan.

       95.     On the evening of August 16,2019, BAUGH, HARVILLE, and Zea ate and drank

at Boston's Oceannaire Restaurant. (A receipt from the restaurant shows an approximately $750

tab closed out at 10:41 p.m.). During the meal, BAUGH discussed with HARVILLE and Zea

that they would need to start "spamming" the Victims again. HARVILLE proposed delivering

chainsaws and human feces to the Victims; BAUGH suggested a dead rat.

       96.     That evening, BAUGH asked Stockwell to send an emergency plumber to the

Victims home. (Internet records from Stockwell s eBay-issued iPhone show that it was used to

look up a Boston-area emergency drain repair service on August 17, 2019 at 3:08 a.m. (ET)).

Later on August 17, Stoekwell also visited the website

https://shamrockentertainment.net/featured-dancers ("New England's Finest Female & Male




 Records obtained from Apple show a saved photograph ofthe Victims' home on one of
HARVILLE's iPhones at approximately 5:30 p.m. (ET) that day.


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Exotic Dancers For Any Occasion from Mild to Witd"),

        97.      On Saturday, August 17, 2019, according to airline records, HARVILLE flew

back to Califomia, and Popp flew to Boston.

        98.      On Sunday, August 18,2019, BAUGH, Zea, and Popp returnedtoNatickto

conduct more surveillance in a GMC SUV that Zea rented. BAUGH again followed Victim 2 as

he drove the Toyota Rav4 around Natick, but BAUGH abandoned the surveillance when he saw

Victim2takingpictiffeso£theGMC,yictim2re(3ortgdtotheNP^

by a silver or gray GMC and had taken a photograph ofits license plate.

        99.      On Tuesday, August 20, 2019, BAUGH, Popp, and Zea returned to Natick for a

fourth surveillance. They abandoned it when they saw a Jeep with tinted windows parked in

front of the Victims' home. The three feared, correctly, that the NPD had sent an undercover

officer there.

        100.     Meanwhile, as BAUGH had suggested at the Oceannaire Restaurant, the

harassment campaign had resumed. On August 17, 2019, the NPD responded to the Victims

house at 4:30 a.m. because a pizza delivery person had shown up from Boston seeking payment

for $70.00 vvorth ofpizza that Victims 1 and 2 had not ordered.

        101.     Laterthe nextnight, at approximately 1 1:30 p.m., asecond pizza delivery arrived.

According to Victim 1, the telephone number used to place the order was (470) 472-9158, the

same number that had been used to place the "sympathy" wreath order with the florist.

        102.     On August 18, 2019, at 12:58 a.m. (ET), Craigslist records reveal that the

following classified advertisement was posted on the company s website featuring the Victims

home address:


                                                 26
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              S/17-8/26: BI.OC K r'VKI'Y in Niitick - Let's h,ivc some fiin; (N.itick.MA)
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       103.       Later that day, at 1:53 p.m. (ET), the Tui_Elei Aceount publicly posted Victim 1 's

full name and the address ofthe Victims' house, asking "Dis UR address???" I am aware based

on my training and experience and my conversations with other agents involved in cyberstalkin;

investigations that the public posting ofa victim's home address or other personally identifiable

information is known as "doxing," and that doxing is a typical method ofonline intimidation and

harassment.

       104.       Three minutes later, at 1:56 p.m., the Tui_Elei Account delivered a private
                                                                                                                              's
message to Victim 1 asking "U get my gifts cunt! !??," confinning in Victim 1                                                      mind that the

same person was both threatening her and sending the unwanted deliveries.

       105.       Two minutes later, at 1:58 p.m., Craigslist records show the posting of an
"Everything must
                        go! estate sale featuring the Victims' address.

       106.       A short time later, at 3:07 p.m., Craigslist records reveal another post featuring

the Victims' home address:



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                  M/F couple seekiiig activity partner (Natick, MA)
              in;!ttire (50s j suaiTted ccniple seekkig siiiglris orotiier cotipltis opfn to iaxptyriiig thrtfesomes. bdsui.
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       107.      In response to the doxing, either Victim I, the NPD, or other Twiner users who

know Victim 1 asked Twitter to take down the doxing posts and to suspend the TuiElei

Account.

       108.      On August 20, 2019, NPD officers responded to the Victims' house yet again.

They leamed from Victims 1 and 2 that people had been arriving at the Victims home lookin;

for a yard sale listed on yardsaleseareh.com. The advertisement on the vvebsite reported a week-

long tag sale and stated, "We are moving out of the country soon, and are trying to get rid of as

many ofour possessions as possible. ... Ifwe are not outside, feel free to knock on the door.

Maybe we can make a deal ifyou see something you like."

       109.      On August 20, 2019, more pornography was delivered to a third neighbor

(addressed in Victim 2's name).

       Threatening Messages Resiime

       110.      On August 21, 2019, NPD officers responded to the Victims' house again. They

leamed from Victims 1 and 2 that other Twitter aceounts were now posting harassing messages.

       111.      First, on August 21, 2019, a Twitter account with the usemame @Elei_Tui ("the

Elei_Tui Account"), only slightly different than the Tui_Elei Account, was used to post "Nice try

[Victim 1]... U cant shut me down!!!"
                                                                      28
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       112.   Two other Twitter aecounts also responded to the Elei_Tui Account's August 2]

2019 harassment:

              a.      A user named @[xxxxxxxx] ("the Mask Account")            wrote, "I agree!

[Victim 1] is hurting small businesses with all the negativity and pushing buyers to Amazon!"

This account featured an icon ofan individual pointing a finger and wearing a sinister mask:




              b.      Another account, @TopSellerl 3 ("the TopSellerl 3 Account"), also

responded, stating: "[Victim 1 ] focuz on sumthin else and stop fuckin with our customers!!! I

dunt wanna c unuther fuckin post bout #ebay.. . Leave our bizness alone !!!!!! @Elei_Tui." Like

the Mask Account, the TopSellerl3 Account featured a menacing photograph, this one with a

disturbing image ofapig:




        ' The investigation reveals that there is an active eBay seller who shares the first and last
name featured in the Mask Account. It is deleted here to avoid any suggestion that this eBay
seller was the author ofthe threatening Tweets. The author was Popp, as described below.

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                                               Top Seller
                                               ©TbpSeilerU
                                               ???7i ^;n.-.^ A..^..^- ^r-l-i-




               c.       The TopSelterl3 Account went on to threaten Victim 1 directly:
"WTF!!??? Hey,                                                                                 In
                    @Elei_Tui wats [Victim 1] adress again?? guest i hav to pay heravisit...

response, the Elei_Tui Account posted Victim I's home address.just as the Tui_Elei Account

had days before.

       113.    As described below, records obtained from Apple reveal that BAUGH, Popp,

Gilbert, and Supervisor 1 agreed to have Popp direct these tweets at the Victims, in part to

execute the White Knight Strategy, and in part to mislead the NPD, which hadjust connected the

GMC that was surveilling Victim 2 to Zea.

       114.    Victims 1 and 2 have reported to law enforcement that the harassment caused

them distress during and after the harassment campaign. Both complained of lost sleep, physical

symptoms ofanKiety, concem about vvhat would happen to them next, and when in public, a fear

that they were being followed.

       Obstriiction and Witness Tampering

       115.    As noted above, CW-2 and CW-3 have reported that BAUGH, HARVILLE,

Popp, and Zea were aware that the Victims had spotted their surveillance on August 16 and/or

August 18, whieh is consistent with the quick retum to Enterprise Rent-a-Car of both the Dodge
                                               30
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Caravan and GMC SUV on those dates.

           116.   Records obtained from Apple reveal that BAUGH, Popp, Gilbert, Stockwell, and

Supervisor 1 also began to attempt to obstruct the NPD s investigation as early as Tuesday,

August20,2019.

           117.   On that date, Popp sent a WhatsApp message to BAUGH, Gilbert, and Supervisor

1 with a link to an audio recording ofan NPD dispatcher describing the ongoing harassment of

the Victims and the August 16 surveillance. Popp commented to the group: "This is from

Friday." In response, Gilbert asked, "They did not get the license plate?" Popp replied,
"Doesn't sound like it - either way, we
                                          got rid ofthat car the same day." BAUGH continued:
"We bumed         another 2 days later, but again, there was no cause and and they can't prove

anything. They are seeing ghosts now. Lol." I believe basedon BAUGH's referenceto"2

days" after Popp's reference to "Friday," BAUGH was referring to BAUGH, Popp, and Zea's

surveillance on Sunday (August 18).

           118.   BAUGH forwarded the same police recording to Stockwell and Analyst 3: "A

little glimpse ofwhat all your hard work is has led too. Lol. And stuff like this around the

clock.."

           119.   BAUGH then sent Stoekwell and Analyst 3 a link to the 2003 movie OldSchool

in which a character arrives at a home unannounced, stating: "I'm here for the gang bang."

           120.   Knowing that the NPD was investigating the harassment of the Victims, Gilbert




          Based on my training and experience as a criminal investigator, I believe BAUGH's
reference to "buming" references the retum ofthe rental car after the Vietims identified it to the
NPD as having followed Victim 2.

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stated to the group: "The moreIthought about it I do think we should bring a dossiers on the
                                                                                    "I agree, and
[Victims] to the PD. Definitely want to make them look crazy." BAUGH replied,

Popp relied, "Copy re dossiers."

       121.    I believe from the context ofthese messages and the investigation to date that

Gilbert, Popp, and BAUGH were referring to the August 15, 2019 "Person oflnterest" ("POl")

document that falsely reported that the Victims had threatened eBay and Executive 1, and that

GilbertwDuldbrmgthePQldQCumenttotheNPQSodisersdittheVitStimsLliaras^

complaints.

       122.    At 9:48 p.m. (ET), BAUGH stated over WhatsApp, "Just sent poi doc with

[Victims] included. I had GIC send this to me last week in case we got stopped..that way would

at least have something to show to PD." A minute earlier, BAUGH emailed Gilbert the POI

document that falsely reported that the Victims had threatened Executive 1, noting, "Brian - take

a look at this, I think we need more details on them. Steph [Popp] is calling you. Let her know

what you think." Gilbert acknowledged receiving the false P01 document and stated he would

speak with Popp.

       123.    Meanwhile, BAUGH continued to discuss the harassment campaign, sending the

OtdSchool excerpt that he had sent to Stockwell and Analyst 3 to Popp, Gilbert, and Supervisor

1, commenting that "this has been the [Victims]' house for the past five nights."

       Awareness ofthe Victims' Emotional Distress

       124.    At 10:13 p.m., still on August 20, BAUGH messaged Stockwell and Analyst 3,
"We've "bumed' 2 ofour rental cars by following them..now they are seeing
                                                                              ghosts, think

everyone is following them and they call the police every 10 minutes." This causes me to


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believe that BAUGH was aware ofboth the NPD investigation and the emotional distress that

the conspiracy's actions were causing the Victims.

         125.   Similarly, at 10:34 p.m., BAUGH messaged Stockwell and Analyst 3,taskin;

Analyst 3 with conducting a background check on an "idiot prosecutor" in BAUGH's hometown

in Arkansas vvho was prosecuting BAUGH's father. BAUGH asked Analyst 3 for "his office

and cell number. His email. Wife's name and cell/email. Kids names. Vehicle information etc.

I've done a quick osint [open source intelligence] search and I can see that likely having an affair

with at least one person." Regarding the prosecutor, BAUGH messaged: "This is a very small

town. If I gave him an ounce ofwhat we've been giving the [Victims], it would be devastating to

him."

         Obstrucling the NPD cmd Executing the White Knight Strategy

         126.   Just before midnight on August 21, 2019, Popp informed the group via WhatsApp

that BAUGH had authorized Gilbert to call Victim 1, but not to leave a voicemail. "He says you

can call her a few times so you have a record on your phone to show cops." Based on the earlier

meetings regarding the White Knight Strategy (as reported by CW-2), l believe the "call" was a

way to begin Gilbert's offer ofassistance to help the Victims with the harassing

communications, even though BAUGH, Gilbert, Popp, and Supervisor 1 knew ofthe NPD

investigation (and the fact that they were the ones behind the harassment).

         127.   The same WhatsApp group (BAUGH, Popp, Gilbert, and Supervisor 1) tracked

the interference with the NPD investigation vvithin moments of its next signifieant development,

the August 21 arrival in the lobby ofthe Ritz Carlton ofan NPD detective, who asked to speak

with Zea. (The NPD had in fact connected the GMC's license plate to Enterprise, Zea, and the


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hotel). A portion ofthe WhatsApp exchange, refening to Zea as "Ronnie," is depicted below:




          128.   Over the WhatsApp chat, Gilbert asked whether Zea could be connected to eBay.

Popp noted to the group that Zea's Linkedln profile connected her to eBay, and that Popp had

instructed Zea to "take it down in case they [i.e., the NPD] do social media research."

          129.   As BAUGH, Gilbert, and Popp discussed whose credit cards had been used to pay

for the room stays at the hotel and the travel to Boston, Popp reported that Zea had booked

BAUGH's room. BAUGH replied, "Whatever - fuck them. I'll get [Zea] on the plane and I'll

come back and deal with them." BAUGH instructed Popp to stay in her room and not talk to

anyone.

          130.   At 9:44 a.m. (ET), Gilbert proposed to the group a false explanation they could
                       "[Zea] was driving around looking for antiques. Must have
provide to the NPD:                                                                got lost and

they picked up her plate by accident. Can they visually identify her?" BAUGH replied that he

was in an Uber with Zea on the way to the airport and that the NPD could not identify her,

adding that the NPD detective had been "polite and clueless" when BAUGH spoke to him (i.e.,

when BAUGH impersonated Zea's husband).

          131.   At 9:48 a.m., Gilbert replied, "Good. This is fine. The cops obviously have
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nothing else to do in Natick. We known the targets have been very impacted by this op. Perfect

time for next phase." By "next phase," 1 believe Gilbert vvas referring to executing the White

Knight Strategy by contacting the Victims and the NPD to offer help with the harassment and

surveillance, despite the Target Subjects being responsible for it.

        132.     BAUGH replied, "Bring out bad boy out please; these people are vvasting our

time. It'sgotime."

       Contimiation ofthe Harassing Tweets

        133.     Popp messaged BAUGH, Gilbert, and Supervisor 1 that she had tried

unsuccessfully to purchase additional followers for her Twitter account and requested, "Am I

clear to start tweeting [Victim 1] even without followers?" At 11:22 a.m., Popp added, "Brian

[Gilbert] - you're running out oftime so I'm going to go ahead and start the public tweets so you

can call her before your flight..." Gilbert agreed.

        134.     At approximately 12:08 p.m., Popp shared a screenshot oftweets she had posted

moments earlier undemeath one ofthe Newsletter's tweets:


               Tui Eiel ^:^.w r>..n • 3m       --..'


               Nifi? try^B . U cant shut me down!"



               Tui Elei ®i-1e.


               Y do u keep atfgckinq us n hurbn our "^?rily bi2n




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                            Top Sefier


                                ioLyZQn3u {ni"d;=j!;dstvp'uck'iiwKhi>ijr.:us;U!ncR!;;fcu!ilWun!tiiC
                            iiiL^h-T' fiisktn pQif ho;« ::r"^-,'... L-'rfV^ Sii!' biznri? 3ionR;:SJ!: .^";-:   ..:




                                                            •^r:
                            TopSelSer^'-!:uS-;"s;;i




                            Tuj Elei •.^•^::\ ;\;i   :::L




       135.   Based on the investigation to date, these public tweets were intended to continue

to harass the Victims in furtherance ofthe White Knight Strategy, and to deceive the NPD into

accepting Gilbert's help with the harassment eampaign, Gilbert replied to the group: "Good to
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go. Will make the calls."
        136.   Minutes earlier, Popp sent the same screenshots from her eBay email account to

Gilbert, copying BAUGH. Popp wrote: "Brian - FYI, she's really bringing out some angry

Twitter users." I believe based on the fact that Popp, Gilbert, and BAUGH had discussed Popp

writing these very Tweets, that the email itselfwas intended for either the Victims or the NPD in

furtherance ofthe White Knight Strategy. In other vvords, the email is intended to make it seem

like Popp discovered the tweets, not that she had vvritten them at the direction ofBAUGH and

Gilbert. The use oftheir eBay email accounts itselfis significant as well—the
                                                                            Target Subjects

took care to avoid discussing their harassment campaign and obstruction efforts over corporate

email; I believe the use ofcorporate email in this limited instance was intended to create false

documents that would support the White Knight Strategy.

        137.   Approximately thirty minutes later, at 12:34 p.m. (ET), BAUGH foi-warded

Popp's email ofPopp's threatening tweets to HARVILLE, and separately to the G1C.

       138.    At 1:03 p.m., Popp emailed BAUGH and Gilbert several documents: (1)the false

POI document featuring the Victims as eBay's two top Persons oflnterest along with selections

from the Newsletter's comments critical ofor mocking eBay and Executive 1; (2) an eBay POI

list that did not include the Victims but did include a POI that the Victims had mentioned to the

NPD; (3) screenshots ofthe unsuckEbay Parody Account; and (4) a selection ofthe tweets that

Popp had written targeting the Victims.

       139.    At 2:46 p.m., after speaking vvith the Vietims, Gilbert wrote: "Just made phone

contaet with [Victim 1] and [Victim 2]. They are totally rattled and immediately referred me to

Natick PD Detective [omitted]. [Victim 1] was a bitch, [Victim 2] wanted to talk to me and was


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receptive. [Victim 1] said talk to the detective and then hung up the phone.

        140.   At4:04p.m.,BAUGHsenttoGilbertandPoppacopyofanAugust 15,2019

email confirming that Zea was eligible to come offthe waitlist for the DevConf.US 2019

conference in Boston. (As noted above, Red Hat records show that Zea never claimed this spot

or attended the conference). In the private group chat, BAUGH responded: "I'm looking at the

docs that Steph put together..there's good stuffthere we can use, specifically the screenshot of

theyictjros' address bemg pQSted,'' (jilbertreRljed,"4grced.Wejyrt^n^^

[Zea] and Dave's [HARVILLE's] activities. Adamantly deny any deliveries and put focus on

the POIs."

        141.   At 4:10 p.m. (ET), Gilbert reported to the group that he had spoken to the NPD:
       "The detectives involved are
                                      [omitted] and [omitted], I spoke to [omitted]
       and he [g]ave up everything. Initially the PD was disregarding the reports
       as Paranoia. But when they gave the an accurate license plate number the
       detectives tracked it back to Veronica Zea. They also identified the pizza
       delivery to coming from a gift card purchased in Santa CIara. They leamed
       [Zea] lives in In Santa Clara. The rental car was tumed into the ritz Carlton
       which led the detectives to the Ritz. Checking with hotel they learned Zea
       was currently staying there. PD also discovered that David Harville is
       staying at the Ritz. They contact someone at eBay and confirmed Zea is
       with the global intel center and Harville is with the global security resiliency
       unit. Now PD thinks there is a connection."

        142.   Gilbert continued:




       143.    Based on the investigation to date, several ofGilbert s statements to the detective

were false. Specifically, Gilbert falsely told the detective that: (1) he did not know Zea or
                                                38
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HARVILLE despite having met with both at eBay within the previous week; (2) that there was a

legitimate investigation underway; and (3) that there had been an "accidental" order of pizzas for

surveillance that was sent to the Victims' house.

       144.    Gilbert also emailed the NPD with other fatse statements, specifically that he had

planned travel in Toronto and New York City that he vvould change plans to be able to meet the

NPD in Boston. According to his flight itinerary, Gilben was, in tact, on the plane to Boston as

he wrote that he would try to move around other trips.

                                   You   '^PM




                           Hi


                           1 had plans to be in NYC and Toronto but trying
                           to move those around. Let the^^^^g<now
                           we are happy to work with you (PD) and get to
                           the bottom of this. 111 update you as soon as
                           my travel changes are conflrmed.


                           Brian


       145.    In response to Gilbert's suggestion "to make sure none ofthe other deliveries can

be tracked back to Zea and Santa CIara," Popp stated that the GIC had intended to order pizza

COD (payable on delivery) so that the delivery person would ask the Victims for cash. Gilbert

directed Popp to confirm the use ofa payment card: "The detective said the debit card used for

the pizza was purchased at a Safeway in Santa Clara. [Zea's] drivers license comes back to an

address in Santa Clara."

       146.    Popp acknowledged that the GIC had in fact purchased a "bunch ofgift cards" at

a Safeway in Santa Clara (as video surveillance ofZea and Analyst 3 obtained by the NPD

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showed).

        147.    In response, BAUGH, Popp, Gilbert, and Stockwell set out to concoct an

explanation for the gift card purchases that would lead the NPD away from the Target Subjects.

        148.    Specifically, at 4:33 p.m. (ET), Gilbert proposed that the group "pin the deliveries

to a POI in the San Jose or Santa Clara Area. Most of ebay employees live in San Jose or Santa

Clara. So that sjust a coincidence."

        149.    A^A:4Q p.m., BAUGHiristmctedPoppto"fitidaleca^

the request by stating that she had called Stockwell and asked for "all POIs in Bay Area since I

don't have visibility to those anymore. She will email you and me a report. I didn't tell her why

just said you would talk to her about it later."

        150.    BAUGH later messaged Stockwell privately on WhatsApp: "Cops traced the gift

eard from the pizza delivery back to Safeway in Santa Clara." BAUGH then asked Stockwell if

Popp had requested "Santa Clara poi's from [Stockwell]." Stockwell replied: "Yes, I'm still

compiling the list." BAUGH stated: "We need to pinthe Safewaycardon one ofthem."

Stockwell replied: "Copy. I figured as much."

        151.    At 5:05 p.m. (ET), Gilbert proposed creating a "Samoan POI": "If needed we

create a Samoan POI in Santa Clara. Then he becomes our primary suspect. This actually might

help the entire op." I believe Gilbert was referring to an attempt to link the Santa Clara debit

cards and the harassing deliveries to the harassing messages from Samoan-sounding Twitter

accounts, @Tui Elei and @Elei Tui.

        152.   At 5:10 p.m. (ET), picking up on Gilbert's suggestion, BAUGH instructed Popp

to "ereate another Tui that's in San Jose." Popp acknowledged the request. BAUGH continued:


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"Security had reason to believe they were in the area," referring to the Victims' harasser

                                                                      "Fidomaster and the
(@Elei_Tui). BAUGH also proposed that the group not forget about

fence..prob a good angle to play there somewhere." Gilbert replied that "they" (NPD) did not

knovv about the fence, and that Gilbert would have to wait for the NPD to raise the issue, because

Gilbert did not know whether or not the Victims had reported the Fidomaster fence vandalism.

See para. 27 & n.4 above. BAUGH suggested that Gilbert coutd say eBay's G1C leamed about

the fence on a random intemet forum.

       153.    BAUGH, Popp, and Gilbert continued to discuss what Gilbert would say to the

NPD at the meeting Gilbert had scheduled for the following moming. Gilbert stated, "it's going

to be difficult not acknowledging [HARVILLE and Zea] were conducting an investigation. I can

say their investigation was compartmentalized and not known to the rest ofglobal security. Then

we come up with why they were watching the [Victims]."

       154.    BAUGH replied, telling Gilbert about the alibi that BAUGH, HARVILLE, and

Zea had selected: "defcon conference in Boston." BAUGH continued: "I don't think we deny

we investigating, but we are not send omg pizzas to there house that would be silly."

       155.    BAUGH also proposed that the "investigation is there to find Tui or chuck|

etc" (i.e., to help the Victims with the harassment). This was the White Knight Strategy.

       156.    Gilbert, the former police captain, proposed blaming the Victims for the problems

that the Target Subjects had created: "All that I told the Det I was looking into POIs and

someone posting the [Vietims'] home address. We can say [Zea] and Harville vvere looking into

the Tui case. That investigation is confidential and details weren't shared with Special Ops

[Gilbert's unit]. 1 11 give briefthe cops on the [Victims'] background and make them look tike


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the problem. The copsjust want a logical legitimate reason for Ronnie [Zea] and Harville being

here."

         157.   BAUGH's reply summed up the White Knight Strategy for the NPD meeting;
"Regardless, we are here to help.

         158.   At 6:17 p.m. (ET), Gilbert proposed another story: "How does this sound for

[Zea]and[HARVILLE]:

           thsywereinBostonJforthecQnference(ifwecanRroyeit)

         - they already were tracking Tui and were aware he was targeting the [Victims]

         - Tui has not been identified but GIC and Resiliency was investigating

         - Spee Ops became aware of home address post and other POIs today. I cold called the

[Victims] for a welfare check."

         159.   BAUGH replied, "I don't think ive need to mention that Resiliency [i.e,

HARVILLE's department] vvas investigating."

         160.   Gitbert replied at 6:19 p.m., "I'm going to push the idea that ebay is a massive

company and have no interest in the [Victims]. The idea we vvould send shit to their house is

ridiculous." BAUGH replied, "I agree," but noted that HARVILLE knew "almost" nothin;

about the Victims or their history.

         161.   At 6:39 p.m., BAUGH wrote to Gilbert and Popp and Supervisor 1: "And just

remember, [Executive 2] said this has to stop even ifthere ebay takes on some risk (which we

have). If I need to bring in and ebay attomey to talk to cops, I have that in my back pocket.

BAUGH added that HARVILLE did not biow that the NPD had his name, "but he witl scream

violation ofhis privacy..lol." At 6:46 p.m., BAUOH added that his "main thing" was that he did


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not want Zea "talking to a detective."

        162.   Gilbert responded: "Agreed. I hope to resolve it with they were doing a

confidential proprietary info investigation. Ifwe give the detectives enough info they will shut

down. Most important we have to make sure there are no other connections to the deliveries."

        163.   Separately, at 6:57 to 6:59 p.m., BAUGH messaged Stockwell and told her to

make sure no one was "using those debit cards that were purchased."

        164.   At 8:22 p.m., BAUGH added: "For [HARVILLE's] cover..since he is business

continuity, we couldjust tell them we are reopening our Boston office - which is confidential. he

was also resistered for that conference too."

        165.   Gilbert continued his suggestions: "Hovv about this; [Zea] was at the conference

with [HARVILLE] when she got instructions to check to see ifthe [Victims'] address was

correct. She was told this is a confidential case and just asked to validate the address. [Zea] is

not a trained investigator and that's why all the suspicious movements. [HARVILLE] vvas just

there for the conference.   BAUGH replied, "I think that is perfect."

        166.   At approximately 9:30 p.m., POPP emailed Gilbert a Bay Area P01 report so that

Gilbert could attribute the pizza delivery to a P01 unrelated to the GIC. Popp also messaged

Gilbert the same information via WhatsApp. Popp continued over WhatsApp, "Let me know if

you're good with the info on there or ifyou want more / less..."

        167.   In reply to the WhatsApp chain, at 9:47 p.m. and 9:48 p.m., Supervisor 1 replied:
"Copy all. Good
                  plan and cover. Brian, important to be convincing so they don't start looking to

find video ofwho purchased the gift cards. Don't think they would go that far but is a little

concerning. If 1 was the Detective 1 would ask you for a local PD context to go get video. Might


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want to have a friendly in mind." Gilbert replied: "I was thinking the same thing. Ifthey bring it

up l might volunteer to assist with that. Then we can control the local cop and maybe provide a

video from a different Santa Clara Safeway.

        168.   At 10:06 p.m., Supervisor 1 replied with two thumbs up, and at 10:15 p.m.,

BAUGH added: "They were in a bit ofdisguise when they bought them. Would be a lot ofwork

and extremely hard to prove." I believe based on my review ofthe video surveillance in the

jnvestigatiQn,BAUGHisrefemngtQZea,whg\yQreabaseballc^inA

Analyst 3.

        169.   At 11:52 p.m., having arrived in Boston, Gilbert asked the group: "Ifasked

tomorroiv who is [Zea's] supervisor? Just in case they want to verify what I m saying.

BAUOH replied that Stockwell was Zea's eBay supervisor, but an individual at eBay's

eontractor was Zea's actual supervisor. Gilbert clarified: "I guess l should say who do we want

it to be? I'm leaning toward Popp being the person ifthe detectives want to verify my story

about [Zea]." BAUGH agreed to having a member ofthe conspiracy be Zea's supervisor ifthe

detectives wanted to speak to one: "Yep. I agree. Popp would have been the one requesting that

she verify that the address posted online is a real address." BAUGH added that Gilbert could

also use him as a supervisor.

        170.   Supervisor 1 added: "Agreed. Good idea. No mention of[Zea's actual manager]

in my opinion and [Popp] can handle this well."

        171.   At 12:15 a.m., BAUGH noted: "The [Victims] have a lot ofenemies and they are

also equally crazy.

        172.   At 12:27 a.m., ending the discussion for the day, BAUGH asked, in an apparent


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suggestion that the operation against the Victims continue, "Is there a chance in hell we are even
                                                                 "They couldn't be more on
gonna try to put this tracker on at this point? Gilbert replied:                           guard

than right noiv. If we can calm them down and win them over maybe. Right now I would not

risk an attempt."

       173.    BAUGH added, referring to a post that Victim 1 had made that evening to the

Newsletter: "[Victim 1] is such a cunt-that 20 year anniversary article aboutjournalism and

integrity came out ofnowhere. I assume it s for the cops. These people are scum. I think we

could still get [the tracker] on the car, bu[t] My concem with the tracker is that you guys patch

things up and build a rapport with the local cops tomorrow then [either Victim 1 or Victim 2]

finds it next month during an oil change and we lose credibility with PD."

       Aiigust 22, 2019 - Gilbert 's Meeting with the NPD

       174.    On August 22, 2019, according to NPD representatives, Gilbert elaimed that eBay

had no role in the harassment ofVictims 1 and 2. He falsely stated that HARVILLE and Zea had

traveled to Boston to attend a conference and that Zea had gone to Natick on her own. Despite

knowing that eBay employees and contractors were harassing the Victims, Gilbert offered

eBay's assistance to the NPD in looking into the harassment,

       175.    Both immediately before andjustafterthe meeting, NPD officialshad contacted

and briefed the FBI regarding the harassment targeting the Victims and the possible involvement

ofeBay personnel. Thereafter, after consulting with representatives ofthe U.S. Attorney's




         Although Popp and BAUGH had equipped Gilbert with the documents described
above, Gilbert did not shovv any ofthem to the NPD.


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Office, the FBI opened an investigation into the commission ofa federal criminal offense,

namely cyberstalking.

       176.     Even while Gilbert was meeting with the NPD, at approximately 12:12 and

12:20 p.m. (ET), Popp, at BAUGH's direction, continued to taunt and threaten Victim 1 using

the TopSellerl3 Account:


              gR»||Silt|Jj%g8gg||IgHg||gHgg

              lEtiiNnMiefit'iiiiri                 ai^aiiww              (E5S..... Ers^ljK
              MBKliliKBiiBi.fgi
                                                            .'sK'




                         :SaiSSs9SW»9f


              • SSSiiSSiSSfiWSSsSiKiiSSSiSSWffiS/S!9                              Ul-Uffi
              ||i|||s||«^g||(|}|| it|flgi|^a|@J||i||||U|^||it||
              ?UffBBtBlwS8iS6^:eiiai iStKt'(6tSnSnatjlc%*
              "^'                                          •:h^:




       Aitgust 23-26, 2019 - Further Obstruction

       177.     On Friday, August 23, 2019, at approximately 8:15 p.m. (ET), BAUGH sent the

following text message to Executive 2.




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       178.    Over the weekend ofAugust 24, 2019, and August 25, 2019, according to both

CW-2 and CW-3, BAUGH directed Popp to take down any aceounts that had been used to

contact the Victims, including any accounts registered with the Newsletter.

       179.    On the moming of August 26, 201 9, BAUGH, HARVILLE, Popp, Gilbert, Zea,

and others gathered in an eBay conference room. According to CW-2 and CW-3, all present

discussed that the NPD was investigating the criminal harassment and stalking ofthe Victims.

They were also aware that eBay's legal department was attempting to investigate in response to

the NPD's request for assistance.

       180.    According to CW-2 and CW-3, HARVILLE was furious that both the Ritz

Carlton and Enterprise had invaded his privacy by giving his information to the NPD. He swore

and screamed about suing the NPD for putting his name in the request to eBay for assistance.

       181.    According to CW-3, BAUGH directed the group not to talk to anyone and to keep

Executive 1 and Executive 2's names out ofany conversations.

       182.    During the August 26, 2019 meeting, according to CW-2 and CW-3, eBay's legal

department interviewed HARVILLE. HARVILLE, who left the call on speakerphone for the

group to hear, falsely stated that he had attended the cont'erence that Zea, HARV1LLE, and
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BAUGH had earlier planned to use as an alibi with the police. HARVILLE also reviewed the

conference schedulejust prior to his call with counsel. HARVILLE also falsely told eBay's

legal department that he had rented a car to be able to visit his sister, who lived in the area.

        183.   Popp also had an interview with eBay's lawyers over speakerphone in front ofthe

;roup in which she falsely stated that Zea had traveled to Boston at BAUGH's direction to go to

the conference.

        184.AeeocdingtobQthCW-2andCW-3,BAUGHdirsctedPQpRt9inQnitQrZea'sm^

Stockwell's interviews v/ith eBay's legal department. Popp listened to both interviews on

speakerphone and gave prompts to Zea that helped her get the conference cover story out. Popp

provided similar support to Stockwell.
        185.   According to more than one participant in the meeting, BAUGH directed Popp,

Gilbert, Zea, Stockwell, and HARVILLE to delete their WhatsApp communications and phone

data. BAUGH also directed Popp to make sure that Gilbert's phone and the WhatsApp messages

on them were deleted.

       186.    Reeords obtained from Apple reveal that HARVILLE sent a message to Zea on or

about August 26, 2019, at approximately 8:00 p.m. (PT) stating: "Hey - I'm not gonna let you

speak to [inhouse counsel for eBay] anymore. He has had enough time with you. Let me know

ifhe reaches out to you. (fhe does, I will brief [redacted] and he will represent you. Great

work.. .you're awesome!" (BAUGH had similarly stated that the "main thing" was that Zea not

speak to the NPD).

       187.    On August 29, 2019, beginning at 8:27 p.m. (PT), BAUGH, HARVILLE, Popp

and Gilbert exchanged WhatsApp messages regarding the NPD investigation and eBay's


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corresponding investigation. The group discussed emails they received in which eBay lawyers

had directed each ofthem to appear for an interview with eBay's outside lawyers the next day at

eBay's headquarters. In sum and substance, the WhatsApp group chat included:

               a.      BAUGH proposing that he, HARVILLE, Popp and Gilbert refuse to meet

with counsel for eBay to send "a strong message that we are not fucking around."

               b.      HARVILLE's statement that a meeting would permit eBay counsel to
"form an opine and
                     provide a recommendation for punitive action pending any additional

information from PD and or negative media."

               c.      Popp's statement that "we all have each other s back. That's all that

matters. They are fucked." HARVILLE immediately replied: "Agree".

               d.      HARVILLE's statement that "The paper trail leads no where Alltheir

findings are speculative and they have to confer ivith police to get anything substantive vvhieh

they probably would not be given."

               e.      Popp's sharing with HARVILLE, BAUGH, and Gilbert her email to eBay

legal acknowledging that there was an "active criminal investigation" in refusing to meet with

eBay's outside lavvyers without her oivn attomey.

               f.      BAUGH's acknovvledgement to an eBay lawyer's statement that "you

have indieated that there is a possible ongoing criminal investigation, in which my colleagues

have been named."

       188.    On August 30, 2019, at 12:08 p.m. (PT), HARVILLE forwarded to the same

WhatsApp group (including BAUGH) an email from an eBay lawyer requiring HARVILLE to

turn in his eBay-issued cell phone:


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                         in order to enabls eBay to prssar/e all relevanl
                         inforinatton, please immediately- today-turn in
                         your eBay-issued mobile telephonetsj, withoul
                         deleting or altering any information on it/'them,
                         to tho Employee Assistance Center at B7.1.
                         3'ttgntionE                In additlon, ptease
                         advise us immsdi<itely if you used any personal
                         device for any eBay '/.'ark-related
                         communications and be sure to preserva all of
                         those un3itered.



       189.    Immediately after sharing this email with BAUGH and the others, HARVILLE

asked the group:




BAUGH's iPhone record indicates that BAUGH received and read the message at 12:44 p.m.

(PT) the same day.

       190.    Popp instructed HARVILLE to "stand by" in response, and BAUGH stated,
"Don't do anything until we speak to an attorney" [but] "Don't tum pbone in either"—requests

                                             "Copy." HARVILLE stated at 1 :23                  "I'm
that HARVILLE acknowledged by stating,                                            p.m. (PT),

just finished and will give them my eBay phone since they know I have it here.'

       191.    On August 30, 2019, eBay placed BAUGH, HARVILLE, and Popp on

administrative leave.

        192.   ln connection with the investigation, eBay collected HARVILLE's iPhone and

determined much ofits data had been deleted. The FBI later obtained the phone itselfand

confirmed through forensic analysis that there had been deletions on HARVILLE's work-issued
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device, including, among other records: (1) all ofthe phone's iMessages from before August 29,

2019 at 12:47 p.m. (PT); (2) all ofthe phone's contacts; (3) web browsing activity related to both
"defcon boston"—the
                  conterence that was to serve as HARVILLE's alibi for the surveillance

           a website associated with "Natick Police and Fire Live Audio Feed."
campaign—and

            193.      On August 30, 2019, at 9:08 p.m. (PT), BAUGH messaged Stockwell and stated,
"It's all
            good...youjust need to stay clean and you and I never spoke."

                                               CONCLUSION

            194.      Based on the infonnation described above, there is probable cause to believe that

BAUGH and HARVILLE committed the Target Offenses. The requested Complaint and

accompanying arrest vvarrants for both men should issue.



                                                           Resnectfullv submitted.
                                                                 5%
                                                            /-
                                                           MARK WILSON
                                                           Special Agent
                                                           Federal Bureau of Investieation

Sworn to me telephonically on June 11, 2020




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